Case 1:21-cv-00092 Document 1-1 Filed on 07/02/21 in TXSD Page 1 of 22




              EXHIBIT A
      Case 1:21-cv-00092 Document 1-1 Filed on 07/02/21 in TXSD Page 2 of 22




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                    BROWNSVILLE DIVISION

 DIANA MARTINEZ,                                          §
      Plaintiff,                                          §
                                                          §
 v.                                                       §           CIVIL ACTION NO. 1:21-CV-92
                                                          §
 DOLLAR TREE STORES, INC.,                                §              JURY TRIAL DEMANDED
     Defendants.                                          §
                                                          §




                        DEFENDANT’S INDEX OF MATTERS BEING FILED


      Pursuant to Local Rule CV-81, Defendant hereby attaches this Index of Matters
Being Filed to its Notice of Removal.

Exhibit 1:        All State Court Return of Service:

      •   Executed return of service as to Dollar Tree Stores, Inc. served on filed June 4, 2021

Exhibit 2:        All State Court Pleadings:

      •   Plaintiff’s Original Petition filed on June 4, 2021
      •   Defendant’s Original Answer filed on June 29, 2021

Exhibit 3:        State Court Docket Sheet



Exhibit 4:        List of all counsel of record, including addresses, telephone
                  numbers, and parties represented.




_________________________________________________________________________________________________________________
MARTINEZ, D/DEF’S INDEX OF MATTERS BEING FILED                 P A G E |1
DOC #7650427 (58000.00003)
               Case 1:21-cv-00092 Document 1-1 Filed on 07/02/21 in TXSD Page 3 of 22




                                                                                                                        AST / ALL
                                                                                                     Transmittal Number: 23301789
Notice of Service of Process                                                                            Date Processed: 06/04/2021

Primary Contact:           Cynthia Bertucci
                           Dollar Tree Stores Inc
                           500 Volvo Pkwy
                           Chesapeake, VA 23320-1604

Electronic copy provided to:                   JJ Jacobson-Allen
                                               Heather Hunter

Entity:                                       Dollar Tree Stores, Inc.
                                              Entity ID Number 3697563
Entity Served:                                Dollar Tree Stores, Inc.
Title of Action:                              Diana Martinez vs. Dollar Tree Stores, Inc.
Matter Name/ID:                               Diana Martinez vs. Dollar Tree Stores, Inc. (11292005)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Cameron County District Court, TX
Case/Reference No:                            2021-DCL-03343-D
Jurisdiction Served:                          Texas
Date Served on CSC:                           06/04/2021
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Jorge A. Green
                                              956-542-7000

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
               Case 1:21-cv-00092 Document 1-1 Filed on 07/02/21 in TXSD Page 4 of 22

                                 CITATION — PERSONAL SERVICE — TRCP 99

                                       THE STATE OF TEXAS

                                           2021-DCL-03343-D

     Diana Martinez                                      §      IN THE 103RD DISTRICT COURT
     VS                                                 §       OF
     Dollar Tree Stores, Inc.                            §      CAMERON COUNTY, TEXAS

    TO      Dollar Tree Stores, Inc.
            Registered Agent
            Corporation Service Company D/B/A CSC-Lawyers INCO
~           211 E. 7th Street Suite 620
            Austin, TX 78701

    NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your
    attorney do not file a written answer with the clerk who issued this citation by 10:00 a.m. on the
    Monday next following the expiration of twenty days after you were served this citation and
    petition, a default judgment may be taken against you. In addition to filing a written answer with
    the clerk, you may be required to make initial disclosures to the other parties of this suit. These
    disclosures generally must be made no later than 30 days after you file your answer with the clerk.
    Find out more at TexasLawHelp.org." TRCP. 99

    You are hereby commanded to appear by filing a written answer to Plaintiffs Original Petition at or
    before 10:00 o'clock A.M. on the Monday next after the expiration of 20 days after the date of service of
    this citation before the Honorable 103rd District Court of Cameron County, at the Courthouse in said
    County in Brownsville, Texas. Said Plaintiffs Original Petition was filed in said court on June 04, 2021,
    in the above entitled cause.

    2021-DCL-03348-D                                         Diana Martinez vs. Dollar Tree Stores, Inc.

    The nature of Petitioner's demand is fully shown by a true and correct copy of Plaintiffs Original Petition
    accompanying this citation and made a part hereof.

    The officer executing this writ shall promptly serve the same according to requirements of law, and the
    mandates thereof, and make due return as the law directs.

    Issued and given under my hand and seal of said Court at Brownsville, Texas, on this the 4th day of June,
    2021.

    ATTORNEY:                                            Laura Perez-Reyes
    JORGE A. GREEN                                      District Clerk of Cameron County
    24038023                                            974 E Harrison St.
    (956)542-7000                                       Brownsville, Texas 78520
                                                                              Signed: 6/4/20219:26:15 AM
    34 S Coria St
    Brownsville TX 78520
                                                        By: ~
                                                        Monica Hernandez, Deputy Clerk
               Case 1:21-cv-00092 Document 1-1 Filed on 07/02/21 in TXSD Page 5 of 22

                     2021-DCL-03348-D                                  Diana Martinea vs. Dollar Tree Stores, Inc.
                     103rd District Court

                                                      RETURN OF SERVICE
 Executed when copy is delivered:
 This is a true copy of the original citation, was delivered to defendant                        , on the        day of
                            ,20

              NAME/ADDRESS FOR SERVICE                                                                      Officer
                                                                                                        County, TX


                                                                By:                                          Deputy

..........................................................................................~
                                                        OFFICERS RETURN

 Came to hand on the          day of                         , at     o'clock _m and                         County, Texas,
 by delivering to each of the within named defendants in person, a true copy of this _                                    with
 the date of delivery endorsed thereon, together with the accompanying copy of the _                                        at
 the following times and places, to wit:
I NAME                                    I DATE/TIME                   I PLACE/COU RSE/D I STANCE FROM COURTHOUSE               I

 And not executed as to the defendant(s),
 The diligence used in finding said defendant(s) being:

 and the cause or failure to execute this process is:

 and the information received as to the whereabouts of said defendant(s) being:


 FEES:                                                                                                      Officer
 SERVING PETITION/COPY $                                                                                County, TX
 TOTAL:                $
                                                                By:                                          Deputy


                                                                                         AFFIANT

..........................................................................................~
      COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
 In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the
 return. The signature is not required to be verified. If the return is signed by a person other than a sheriff, constable or
 the clerk of the court, the return shall be signed under penalty or perjury and contain the following statement:
 "My name is                                           , my date of birth is                    , my address is

 I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
 EXECUTED in                County, State of     , on the    day of                                               20


 ID Number/Expiration of Certification                          Declarant/Authorized Process Server
      Case 1:21-cv-00092 Document 1-1 Filed on 07/02/21 in TXSDFILED
                                                                 Page    6 of 22
                                                                     - 6/4/2021          9:03 AM
                                                                          2021-DCL-03348 / 54094972
                                                                          LAURA PEREZ-REYES
                                                                          Cameron County District Clerk
                                            2021-DCL-03348                By Monica Hernandez Deputy Clerk
                            C4hli0:110C6a

DIANA MARTINEZ                              §      IN THE DISTRICT COURT
    PLAINTIFF,                              § Cameron County - 103rd District Court
                                            ~
VS.                                         §              JUDICIAL DISTRICT
                                            ~
DOLLAR TREE STORES, INC.                    ~
    DEFENDANT.                              §      CAMERON COUNTY, TEXAS


                           PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

        Comes Now Diana Martinez, hereinafter referred to as Plaintiff, complaining of and

about Dollar Tree Stores, Inc., hereinafter referred to as Defendant, and for causes of action

files this Plaintiff's Original Petition. In support thereof, Plaintiff respectfully shows unto

the Court the following:

                  A. TRCP 47 Disclosure and Discovery Control Plan

       1.1    Plaintiff seeks monetary relief of $250,000.00 or less. Tex.R.Civ.P. 47. More

specifically, Plaintiff seeks monetary relief not to exceed $75,000.00.

       1.2    Plaintiff intends to conduct discovery under Leve11 of the Tex. R. Civ. P., as

provided for in Tex. R. Civ. P.169 for expedited actions.

                                   B. Parties and Service

       2.1    Plaintiff Diana Martinez is an individual residing in Cameron County, Texas.

       2.2    Defendant Dollar Tree Stores, Inc. is a Foreign For-Profit Corporation in

existence, registered with the Texas Secretary of State to do business in Texas. Defendant

may be served with process by serving its registered agent for service of process,
    Case 1:21-cv-00092 Document 1-1 Filed on 07/02/21 in TXSD Page 7 of 22




Corporation Service Company D/B/A CSC-Lawyers INCO, 211 E. 7' Street, Suite 620,

Austin, TX 78701.Citation is requested at his time. Plaintiff will serve Defendant through

a private civil process server.

                                  C. Turisdiction and Venue

       3.1    The statements above and below are incorporated and/or adopted here by

reference as if set forth verbatim.

       3.2    This Court has in personam jurisdiction over the Defendant because, at the

time of the events and conditions giving rise to this lawsuit and/ or at the time this lawsuit

was filed, the Defendant was a resident of Texas, and/ or was organized under the laws of

Texas, and/ or maintained a certificate of authority from the Texas Secretary of State to

conduct business in Texas, and/ or maintained a principal place of business in Texas,

and/ or maintained a registered agent in Texas, and/ or was doing business in Texas,

and/ or solicited business in Texas from Texas residents, and/ or marketed and advertised

in Texas to Texas residents, and/ or contracted in Texas with Texas residents, and/ or

committed torts in whole or in part in Texas, and/ or recruited Texas residents for

employment, and/ or maintained continuous and systematic contacts with Texas, and/ or

is generally present in Texas, and/ or otherwise has the requisite minimum contacts with

Texas, has purposefully availed itself of the privileges and protections of Texas law, and

could reasonably expect to be sued in Texas.

      3.3     This Court has subject matter jurisdiction over this action because Plaintiff

seeks damages within the Court's jurisdictional limits.
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       3.4     Venue is proper in Cameron County, Texas, pursuant to Texas Civil Practice

and Remedies Code §15.002(a)(1) because all or a substantial part of the events or

omissions giving rise to the claim occurred in Cameron County, Texas.

                                           D. Facts

       4.1     The statements above and below are incorporated and/ or adopted here by

reference as if set forth verbatim.

       4.2     On or about September 19, 2019, Plaintiff suffered injuries and other damages

when she slipped and fell on a plastic clip from a Hallmark display board on the floor at

Dollar Tree Store located at 2109 W. Lincoln Avenue Harlingen, Texas 78552.

                                      E. Causes of Action

       5.1     The statements above and below are incorporated and/ or adopted here by

reference as if set forth verbatim.

                              Count One - Premises Liability

       5.2     At.all times material hereto, Defendant Dollar Tree Stores, Inc. was the owner

and/ or possessor and/ or operator of the premises at 2109 W. Lincoln Avenue Harlingen,

Texas 78552.

       5.3     Defendant and/ or its agents and/ or its servants, and/ or its employees knew

or should have known of an unreasonably dangerous condition. Despite such knowledge,

Defendant and/ or its agents, and/ or servants, and/ or employees negligently failed to

warn Plaintiff of the condition at the premises, or to otherwise make the premises safe.

This condition existed despite the fact that Defendant or Defendant's agents, and/or

servants, and/ or employees knew or should have known of the existence of the
    Case 1:21-cv-00092 Document 1-1 Filed on 07/02/21 in TXSD Page 9 of 22



aforementioned condition and that there was likelihood of a person being injured, as

occurred to Plaintiff.

       5.4    At all times pertinent herein, Defendant, and any of Defendant's agents,

and/or servants, and/or employees who were acting in the scope of their employment,

were guilty of negligent conduct toward Plaintiff in:

              a)     Failing to maintain the premises in reasonably safe condition;

              b)     Failing to give adequate and understandable warnings to Plaintiff

                     regarding the unsafe condition of the premises;

       5.5    Plaintiff was an invitee on the premises at the time of her injuries and other

damages. At the time of the injury (1) a condition of the premises created an unreasonable

risk of harm to the invitee; (2) the owner and/or possessor and/or operator knew or

reasonably should have known of the condition; (3) owner and/ or possessor and/ or

operator failed to exercise ordinary care to protect the invitee from danger; and (4) owner's

and/or possessor's and/or operator's failure was a proximate cause of the injury to the

invitee.

                                          F. Prayer

       11.1   Wherefore, premises considered, Plaintiff Diana Martinez, respectfully prays that

Defendant be cited to appear and answer herein, and that she ultimately have judgment

against Defendant for the following:

              a.     Physical pain in the past and future;

              b.     Mental anguish in the past and future;

              C.     Physical impairment in the past and future;
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        d.    Medical expenses in the past and future;

        e.    Lost wages;

        f.    Costs of suit;

        g.    Pre judgment and post-judgment interest; and

        h.    All other relief, at law or in equity, to which Plaintiff may be justly

              entitled.

                                   Respectfully submitted,

                                  THE GREEN LAW FIRM, P.C.
                                  34 S. Coria St.
                                  Brownsville, Texas 78520
                                  (956) 542-7000 Tel.
                                  (956) 542-7026 Fax

                                  By: /y/ Jo-rge, A. Grre,e-in,
                                        JORGE A. GREEN
                                        State Bar No. 24038023
                                        jorge@thegreenlawfirm.com
                                        LETICIA GARZA
                                        State Bar No. 24092405
                                        lety@thegreenlawfirm.com
                                        DAVID M. ROERIG
                                        State Bar No. 24060513
                                        david@thegreenlawfirm.com

                                  ATTORNEYS FOR PLAINTIFF
         Case 1:21-cv-00092 Document 1-1 Filed on 07/02/21 in TXSD FILED
                                                                     Page   11 of 22
                                                                         - 6/29/2021 8:34 AM
                                                                                 2021-DCL-03348 / 54868526
                                                                                 LAURA PEREZ-REYES
                                                                                 Cameron County District Clerk
                                                                                 By Adriana Munoz Deputy Clerk
                                       CAUSE NO. 2021-DCL-03348

DIANA MARTINEZ,                                       §                     IN THE DISTRICT COURT
                                                      §
          PLAINTIFF,                                  §
                                                      §
V.                                                    §                 CAMERON COUNTY, TEXAS
                                                      §
DOLLAR TREE STORES, INC.,                             §
                                                      §
          DEFENDANT.                                  §                    103rd JUDICIAL DISTRICT



                           DEFENDANT DOLLAR TREE STORES, INC.’S
                                   ORIGINAL ANSWER


                                           I. GENERAL DENIAL

            1.      Defendant denies each and every, all and singular, material allegations contained

     within the pleadings and any amendments or supplements thereto of Plaintiff Diana Martinez and

     demands strict proof thereof.


                           II.   INFERENTIAL REBUTTAL INSTRUCTIONS

            2.      Defendant assert the following by way of inferential rebuttal and requests that the

     Court instruct the jury as follows:

                    a.      New and Independent Cause / Superseding Intervening Cause. The
                            alleged damages in question as alleged by Plaintiff were caused, in whole
                            or in part, by an act or omission of a separate and independent agency, not
                            reasonably foreseeable to the Defendant, that destroyed any causal
                            connection between the alleged acts or omissions of the Defendant and the
                            injury complained of thus becoming an intervening, superseding cause of
                            the incident and/or alleged injuries.




     Martinez, D. – DEFENDANT DOLLAR TREE STORES, INC.’S ORIGINAL ANSWER
     7681956 (79656.00074)                                                                            1
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              b.      Sole Proximate Cause. The act(s) or omission(s) of another person,
                      including Plaintiff or another entity was the sole cause of the damages
                      alleged by Plaintiff.

              c.      Prior and/or Subsequent Injuries/Conditions. Plaintiff’s claims of
                      physical and/or mental ailments in this cause were, in whole or in part,
                      proximately caused solely and/or proximately by prior and/or subsequent
                      accidents, events, or occurrences. Also, Plaintiff’s claims of injuries and
                      damages are the result in whole or in part of pre-existing conditions,
                      injuries, diseases, illnesses, and disabilities and not the result of any act or
                      omission on the part of the Defendant.


                                III. AFFIRMATIVE DEFENSES

       3.     By way of affirmative defense, pleading in the alternative and without waiving the

foregoing general denial:

              a.      Statute of limitations. Plaintiff’s claims are barred, in whole or in part, by
                      the applicable statutes of limitations.

              b.      Comparative Negligence-Responsibility. Defendant would show that the
                      negligence of Plaintiff and one or more third parties and/or one or more Co-
                      Defendant was/were the sole, or a partial, proximate cause of the accident
                      and the injuries and damages alleged by Plaintiff. Because of Plaintiff’s
                      negligence, Plaintiff is/are barred, in whole or in part, from a recovery of
                      damages from Defendant. Also, pursuant to Ch. 33, Texas Civil Practice
                      and Remedies Code, Defendant invokes the doctrine of comparative
                      responsibility and would further show Defendant is/are entitled to an issue
                      submitted to the jury on the comparative responsibility of Plaintiff and/or
                      any third party and/or any Co-Defendant who caused, contributed or was
                      responsible for the injuries and damages alleged by Plaintiff.

              c.      Responsible Third Parties. Pleading further and in the alternative, without
                      waiving the foregoing, Defendant asserts that the occurrence in question


Martinez, D. – DEFENDANT DOLLAR TREE STORES, INC.’S ORIGINAL ANSWER
7681956 (79656.00074)                                                                               2
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                    and/or the alleged damages were proximately and/or producing caused, in
                    whole or in part, by the acts, omissions, fault, negligence, or other conduct
                    of third parties, persons, or entities over whom Defendant has no right of
                    control nor for whom Defendant is/are legally responsible. Furthermore, to
                    the extent the acts and/or omissions for which Plaintiff complain/complains
                    were committed by persons subject to Defendant’s supervision and control,
                    Plaintiff’s claims are barred against Defendant, in whole or in part, because
                    said persons acted beyond the scope of their authority to act on behalf of
                    Defendant. Also, regarding other parties’ causation of Plaintiff’s injuries,
                    Defendant’s liability must be reduced, and if Defendant are found to be
                    jointly and severally liable, Defendant is/are entitled to a judgment for
                    contribution from these other parties.

             d.     Failure to Mitigate. Plaintiff failed, either in whole or in part, to mitigate
                    damages as required under applicable law. Any damages sought to be
                    recovered by Plaintiff should be reduced to the extent that Plaintiff has/have
                    failed to take the reasonable steps that a person of ordinary prudence in the
                    same or similar situation would have taken to avoid the damages claimed in
                    this lawsuit.

             e.     Paid-or-Incurred Medical-Expense Limitation. Plaintiff’s recovery of
                    medical or health care expenses be limited to the amount actually paid or
                    incurred by or on behalf of Plaintiff, pursuant to § 41.0105 of the Tex. Civ.
                    Prac. & Rem. Code.

             f.     Failure to Submit Medical Bills to Medical-Insurance Provider.
                    Plaintiff’s claims for medical expenses are barred by the provisions of §
                    146, et seq of the Tex. Civ. Prac. & Rem. Code, to the extent that Plaintiff
                    is/are covered by medical insurance and medical providers have refused to
                    submit the medical bills to the medical insurance provider. Tex. Civ. Prac.
                    & Rem. Code § 146.003.

             g.     Credit/Offset. Defendant is/are entitled to a credit or offset for all monies
                    or consideration paid to or on behalf of Plaintiff by virtue of any type or

Martinez, D. – DEFENDANT DOLLAR TREE STORES, INC.’S ORIGINAL ANSWER
7681956 (79656.00074)                                                                           3
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                    form of settlement agreement entered into by and between Plaintiff,
                    payments made to and on behalf of Plaintiff under Defendant's Work Injury
                    Benefit Plan, and any settling person, responsible third-party or any other
                    person or entity not a party to this lawsuit. Defendant claims and is/are
                    entitled to all lawful settlements, credits and offsets including but not
                    limited to those set forth in Tex. Civ. Prac. & Rem. Code §33.012 and
                    §41.0105. Thus, Defendant assert the affirmative defenses of offset, credit,
                    payment, release, and accord and satisfaction to the extent applicable as
                    provided under Texas Rule of Civil Procedure 94.

             h.     Loss   of   Earnings     /   Loss    of   Earning    Capacity—Post-Tax-
                    Payments/Liability. Pursuant to Tex. Civ. Prac. & Rem. Code § 18.091,
                    Plaintiff must prove Plaintiff’s alleged loss of earnings and/or loss of
                    earning capacity in a form that represents their net loss after reduction for
                    income tax payments or unpaid tax liability. Also, Defendant request the
                    Court instruct the jury as to whether any recovery for compensatory
                    damages sought by Plaintiff is/are subject to federal and state income taxes.

             i.     Damages Bars and Limitations. Plaintiff’s claims, if any, for exemplary,
                    punitive, or other damages are barred, limited, restricted, and/or governed
                    by the provisions of the Tex. Civ. Prac. & Rem. Code Ch. 41 and other
                    applicable law.

             j.     Reservation of Rights. Defendant hereby gives notice Defendant intends
                    to rely on such other defenses or denials, affirmative or otherwise, and to
                    assert third-party claims and any other claims, as may become available or
                    appear during discovery as it proceeds in this matter, and hereby reserve the
                    right to amend its Answer to assert such defenses.




Martinez, D. – DEFENDANT DOLLAR TREE STORES, INC.’S ORIGINAL ANSWER
7681956 (79656.00074)                                                                          4
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                                  IV. TEX. R. CIV. P.193.7 NOTICE

       4.      Pursuant to Tex. R. Civ. P. 193.7, Defendant hereby gives actual notice to Plaintiff

that any and all documents produced by Plaintiff may be used against Plaintiff at any pretrial

proceeding or at the trial of this matter without the necessity of authenticating the documents.


                      V.   TEXAS RULE OF EVIDENCE 609(f) REQUEST

       5.      Defendant requests that Plaintiff, pursuant to Texas Rules of Evidence 609(f), give

Defendant sufficient advanced written notice of Plaintiff’s intent to use evidence of a conviction

of a crime under Rule 609(f) against any party or witness in this case, with failure to do so resulting

in inadmissibility of the same.


                                         VI. JURY DEMAND

       6.      Defendant demands a trial by jury and tenders the applicable jury fee with its

Answer.


                                  VII.        RELIEF REQUESTED

       7.      Defendant requests:

               a.      Plaintiff take nothing by this lawsuit;

               b.      Defendant go hence with its costs (i.e., its costs be taxed against Plaintiff)

                       without delay; and

               c.      for such other and further relief, both general and special, at law and in

                       equity, to which Defendant may show itself justly entitled.




Martinez, D. – DEFENDANT DOLLAR TREE STORES, INC.’S ORIGINAL ANSWER
7681956 (79656.00074)                                                                                5
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                                           Respectfully submitted,

                                           MAYER LLP

                                           4400 Post Oak Parkway, Suite 1980
                                           Houston, Texas 77027
                                           713.487.2000 / Fax 713.487.2019

                                           /s/ Kevin Riley
                                           Kevin P. Riley
                                           Texas State Bar No. 16929100
                                           Southern District of Texas No. 13776
                                           kriley@mayerllp.com
                                           Harry L. Laxton Jr.
                                           Texas State Bar No. 12061762
                                           New York Registration No. 5447776
                                           Southern District of Texas No. 906711
                                           hlaxton@mayerllp.com

                                           ATTORNEYS FOR DEFENDANT
                                           DOLLAR TREE STORES, INC.




                               CERTIFICATE OF SERVICE

        I am causing, on June 29, 2021, this document to be served on all counsel of record and
pro se parties in compliance with the applicable Rules of Civil Procedure.



                                                    /s/ Harry Laxton Jr.
                                                   Harry Laxton Jr.




Martinez, D. – DEFENDANT DOLLAR TREE STORES, INC.’S ORIGINAL ANSWER
7681956 (79656.00074)                                                                         6
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                                                      Details




             Case Information

             2021-DCL-03348 | Diana Martinez vs. Dollar Tree Stores, Inc.

             Case Number                              Court                    Judicial Officer
             2021-DCL-03348                           103rd District Court     Leal, Janet
             File Date                                Case Type                Case Status
             06/04/2021                               Other Injury or Damage   Pending




             Party

             Plaintiff                                                         Active Attorneys 
             Martinez, Diana                                                   Lead Attorney
             Address                                                           GREEN, JORGE A.
             34 S. Coria                                                       Retained
             Brownsville TX 78520


                                                                               Attorney
                                                                               Garza, Leticia
                                                                               Retained



                                                                               Attorney
                                                                               ROERIG, DAVID M.
                                                                               Retained




             Defendant                                                         Active Attorneys 
             Dollar Tree Stores, Inc.                                          Lead Attorney
                                                                               RILEY, KEVIN P.
             Address
             Registered Agent                                                  Retained
             Corporation Service Company D/B/A CSC-Lawyers INCO
             211 E. 7th Street, Suite 620
             Austin TX 78701




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                                   1/4
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                                                      Details




             Events and Hearings


                06/04/2021 Original Petition (OCA) 


                   Comment
                   Plaintiff's Original Petition


                06/04/2021 Efiled Original Petition Document 


                   Comment
                   Plaintiff's Original Petition


                06/04/2021 Citation Issued


                06/04/2021 Clerks Journal 


                   Comment
                   Citation was sent to Attorney via email (VSERNA@thegreenlawfirm.com) -M.H.


                06/04/2021 Citation 


                Served
                06/04/2021

                Anticipated Server
                Civil Process Server

                Anticipated Method
                In Person
                Actual Server
                Civil Process Server

                Returned
                06/08/2021


                06/08/2021 Service Return 


                Service Return- Affidavit SERVED

                   Comment
                   Service Return- Affidavit SERVED


                06/29/2021 Original Answer 


                   Comment
                   Defendant Dollar True Stores, Inc.'s Original Answer

https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                               2/4
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                                                      Details


                06/29/2021 Jury Fee Paid (OCA) 


                   Comment
                   Defendant Paid Jury Fee


                07/01/2021 Motion 


                Plaintiff's Motion for Trial Setting

                   Comment
                   Plaintiff's Motion for Trial Setting


                07/01/2021 Order Setting Hearing 


                Order Setting Hearing

                   Judicial Officer              Comment
                   Leal, Janet                   Order Setting Hearing



                07/01/2021 Journal Entry 


                   Comment
                   Order Setting Hearing TDCC signed. JLL/jm


                08/17/2021 Docket Control Conference (telephonic) 


                Judicial Officer
                Leal, Janet

                Hearing Time
                1:30 PM

                Comment
                1:30PM




             Financial

             Martinez, Diana
                    Total Financial Assessment                                      $315.00
                    Total Payments and Credits                                      $315.00


              6/4/2021         Transaction Assessment                              $315.00


https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                             3/4
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                                                      Details

              6/4/2021        E-File Electronic Payment        Receipt # 2021-10536   Martinez, Diana   ($315.00)
             Dollar Tree Stores, Inc.
                    Total Financial Assessment                                                             $40.00
                    Total Payments and Credits                                                             $40.00


              6/29/2021        Transaction Assessment                                                     $40.00

              6/29/2021        E-File Electronic             Receipt # 2021-      Dollar Tree Stores,    ($40.00)
                               Payment                       12398                Inc.




             Documents


                Service Return- Affidavit SERVED

                Plaintiff's Motion for Trial Setting
                Order Setting Hearing




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                                                   4/4
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                    BROWNSVILLE DIVISION

 DIANA MARTINEZ,                                          §
      Plaintiff,                                          §
                                                          §
 v.                                                       §           CIVIL ACTION NO. 1:21-CV-92
                                                          §
 DOLLAR TREE STORES, INC.,                                §              JURY TRIAL DEMANDED
     Defendants.                                          §
                                                          §


                  COUNSEL OF RECORD AND INFORMATION PURSUANT TO
                                LOCAL RULE CV-81(C)

 (1)   A list of all parties in the case, their party type (e.g., plaintiff, defendant,
intervenor, receiver, etc.) and current status of the removed case (pending, dismissed);

         Plaintiff         Diana Martinez

         Defendant         Dollar Tree Stores, Inc.

         The removed case is currently pending.

(2)      A civil cover sheet and a certified copy of the state court docket sheet; a copy of all
pleadings that assert causes of action (e.g. complaints, amended complaints,
supplemental complaints, counterclaims, cross-actions, third party actions, interventions,
etc.); all answers to such pleadings and a copy of all process and orders served upon the
party removing the case to this court, as required by 28 U.S.C. § 1446(a).

         See attached civil cover sheet and documents attached to Defendant’s Notice of
         Removal as Exhibit “A.”

 (3)   A complete list of attorneys involved in the action being removed, including each
attorney's bar number, address, telephone number and party or parties represented by
him/her;




_________________________________________________________________________________________________________________
MARTINEZ, D/COUNSEL OF RECORD AND INFORMATION                                                       P A G E |1
DOC # 7650495 / 10753.00003
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                                                                  Facsimile: 713-487-2019
  Counsel for Plaintiff                                           Email: kriley@mayerllp.com
  Diana Martinez                                                  hlaxton@mayerllp.com



                                                                  Counsel for Defendant
                                                                  DOLLAR TREE STORES, INC.

(4)    A record of which parties have requested a trial by jury (this information is in
addition to placing the word "jury" at the top of the Notice of Removal immediately below
the case number);

         Defendant has requested a trial by jury.

(5)      The name and address of the court from which the case is being removed.

         103rd District Court of Cameron County, Texas
         Honorable Janet L. Leal
         974 E. Harrison St.
         Judicial Building 3rd Floor
         Brownsville, Texas 78520
         T: 956.544.0844




_________________________________________________________________________________________________________________
MARTINEZ, D/COUNSEL OF RECORD AND INFORMATION                                                       P A G E |2
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